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                        IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE DISTRICT OF DELAWARE


In re:                                                                  Chapter 11

AMYRIS, INC., et al.,                                                   Case No. 23-11131 (TMH)

                                    Debtors.1                           (Jointly Administered)

                                                                        Re: Docket Nos. 19, 171, 211 and 323

         OPENING SUPPLEMENTAL BRIEF OF THE DEBTORS IN SUPPORT OF
            ENTRY OF FINAL ORDER (I) AUTHORIZING DEBTORS (A) TO
           OBTAIN POSTPETITION FINANCING AND (B) TO UTILIZE CASH
             COLLATERAL, (II) GRANTING ADEQUATE PROTECTION
              TO PREPETITION SECURED PARTIES, (III) MODIFYING
           THE AUTOMATIC STAY, AND (IV) GRANTING RELATED RELIEF

                  Amyris, Inc. (“Amyris”) and its related above-captioned debtors and debtors in

possession (collectively, the “Debtors”) file this opening supplemental brief (“Brief”) in further

support of the Motion of the Debtors for Interim and Final Orders (I) Authorizing Debtors (A) to

Obtain Postpetition Financing and (B) to Utilize Cash Collateral, (II) Granting Adequate

Protection to Prepetition Secured Parties, (III) Modifying the Automatic Stay, (IV) Scheduling a

Final Hearing, and (V) Granting Related Relief [Docket No. 19] (“DIP Motion”).

                  This Brief is submitted pursuant to the Scheduling Order with Respect to Continued

Hearing on the Motion of the Debtors for Interim and Final Orders, et seq. [Docket No. 323]

entered by the Court on September 19, 2023 (“Scheduling Order”).2 By this Brief, the Debtors

will address two issues within their purview—(1) the continued existence and amount of the

1
 A complete list of each of the Debtors in these Chapter 11 Cases may be obtained on the website of the Debtors’
proposed claims and noticing agent at https://cases.stretto.com/amyris. The location of Debtor Amyris Inc.’s principal
place of business and the Debtors’ service address in these Chapter 11 Cases is 5885 Hollis Street, Suite 100,
Emeryville, CA 94608.
2
  Capitalized terms used but not defined herein shall have the meanings set forth in the Scheduling Order or the DIP
Motion.



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obligations due to Foris Ventures, LLC (“Foris”) under the 2018 LSA (issues 1, 2 and 3 in the

Scheduling Order), and (2) the lack of any obligation on the part of the Debtors under Section

364(d)(1)(B) to adequately protect the interest claimed by Lavvan in certain of the Debtors’ assets

due to Lavvan’s advance contractual waiver and consent to the relief sought in the DIP Motion

being granted without adequate protection (Issue 8 in the Scheduling Order).

                  First, Foris is currently owed approximately $63.5 million under the 2018 LSA in

outstanding principal and interest as of the Petition Date. The accounting treatment of the changes

made in 2020 to the 2018 LSA (i.e., changes that were treated for accounting purposes as an

“extinguishment and reissuance”), did not result in the legal cancellation of the Debtors’

obligations to Foris.        Rather, the debt was simply revalued for purposes of its continued

presentation as a liability on the company’s balance sheet. The Debtors will present the expert

opinion of Theodore Martens for the conclusion that the application of debt extinguishment

accounting to a particular amendment or modification of a loan obligation does not mean that the

underlying debt instrument has been extinguished as a legal matter—only the transaction

documents themselves can effectuate such an outcome, not the application of standard accounting

guidance to a borrower’s financial statements.3

                  Second, Lavvan has indisputably agreed under the Subordination Agreement that

it will “not seek adequate protection.” Lavvan’s agreement to relinquish any claim to adequate

protection is consistent with the overall architecture of the Subordination Agreement, which leaves

the exercise of rights and remedies against the shared collateral within the exclusive control and

3
  The Debtors provided the Expert Report of Theodore Martens (“Martens Report”) to Lavvan on September 22, 2023,
the deadline specified in the Scheduling Order.



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discretion of Foris until its debt is “Paid in Full.”4 Lavvan’s bargained-for consent to this construct

precludes Lavvan from inviting the Court to independently evaluate whether Lavvan is entitled to

adequate protection and relieves the Court of any need to do so. Indeed, under established practice,

the consent of existing pre-petition secured creditors routinely forms the basis for the approval of

a priming lien in favor of a DIP lender without a separate assessment by the Court of whether the

secured creditor’s interest is otherwise adequately protected. Bankruptcy courts do not second-

guess decisions by sophisticated secured creditors as to what level of protection is “adequate,” or

whether they should forego adequate protection entirely.

                                           I. INTRODUCTION

                  1.         Lavvan’s dispute with the Debtors centers on competing liens serving very

distinct purposes—one granted to Lavvan as security for a possible claim under the RCLA, and

one granted to any lenders that “advanced debt for borrowed money to Amyris on a senior secured

basis.”5 Both liens were contemplated under, and their relative priority and repayment rights were

pre-arranged, in general, by the RCLA and, more specifically, by the Subordination Agreement.

The shared collateral is limited to certain intellectual property (IP) of Amyris: specifically, certain

IP that was owned by Amyris at the time the RCLA was executed, and certain IP that was expected

to be the fruit of the parties’ collaboration under the RCLA.6 Lavvan was granted its lien as

4
  See Subordination Agreement §§ 4-5. The “debt extinguishment accounting” treatment of the 2018 LSA is plainly
not the equivalent of payment in full in cash, which is required by the Subordination Agreement.
5
 See § 5.12 of the Research, Collaboration and License Agreement dated March 19, 2019 (“RCLA”). The Security
Agreement dated May 2, 2019 (“Security Agreement”), between Lavvan and the Debtors reiterates the same
principle—the lien granted thereunder to Lavvan is subordinated to “any other lender who has advanced debt for
borrowed money to [Amyris] on a senior secured basis.” See definition of “Permitted Senior Lender,” at page 4 of
Security Agreement.
6
 While there is a dispute between Amyris and Lavvan regarding the extent of Lavvan’s asserted security interest,
pursuant to the Scheduling Order that issue is not before the Court at this time.



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security for potential, future claims that might arise under the RCLA. That claim, however, was

purely contingent and speculative (and was never expected to materialize) at the time the parties

initially entered into the RCLA.

                  2.         At that same time, however, Amyris was already a party to a secured loan

agreement for “borrowed money.” As a result, the RCLA contemplated that Lavvan’s lien, given

as security for a contingent, future claim, would not stand as an obstacle to Amyris’s need for

additional “advanced debt” to operate. Any such future funding—by the express assent of

Lavvan—would enjoy priority over Lavvan’s backstop lien. Without this arrangement, Lavvan’s

lien could be expected, quite naturally, to stymie Amyris’s ability to finance its future operations,

including its ability to perform under its collaboration with Lavvan.

                  3.         This common sense backdrop informs the present dispute. Lavvan agreed

always to maintain the junior status of its lien in order to accommodate “debt for borrowed

money.” As an integral part of the Subordination Agreement, Lavvan ceded control to Foris over

the exercise of rights and remedies with respect to the shared collateral. Now that Lavvan has

averred a claim for alleged damages under the RCLA,7 it is trying to extricate itself from this basic

bargain. By opposing the DIP Motion on the basis that it is entitled to adequate protection, Lavvan

is violating the Subordination Agreement under which it agreed not to take the very enforcement

steps that it is now advocating. Lavvan’s request that the Court must exercise a roving duty to

protect Lavvan from its own waiver is without merit.


7
  The existence and amount of any claim for damages under the RCLA is dependent on the outcome of a decision by
the International Chamber of Commerce (ICC) arbitral panel. The Debtors and Lavvan have stipulated to relief from
stay to allow the tribunal to issue its decision. Pending the issuance of the arbitration decision, Lavvan’s claims and
liens remain in bona fide dispute.



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                                            II. BACKGROUND

A.       Commencement of the Chapter 11 Cases

                  4.         On August 9 and August 21, 2023 (as applicable, the “Petition Date”), each

Debtor filed a voluntary petition for relief under chapter 11 of the Bankruptcy Code (“Chapter 11

Cases”). The Debtors are operating their businesses and managing their properties as debtors in

possession pursuant to sections 1107(a) and 1108 of the Bankruptcy Code.

                  5.         Amyris is a leading manufacturer of synthetically derived molecules. These

compounds are eco-friendly, sustainable alternatives to key ingredients that are used in flavors and

fragrances, sweeteners, cosmetics, pharmaceuticals and other consumer products. A detailed

description of the Debtors’ business and the reasons for the Chapter 11 Cases is set forth in the

First Day Declaration.

                  6.         On August 11, 2023, the Court entered its Interim Order (I) Authorizing the

Debtors (A) to Obtain Postpetition Financing and (B) to Utilize Cash Collateral, (II) Granting

Adequate Protection to Prepetition Secured Parties, (III) Modifying the Automatic Stay,

(IV) Scheduling a Final Hearing, and (V) Granting Related Relief (“Interim Order”) [Docket No.

54].

                  7.         On August 31, 2023, Lavvan filed its limited objection [Docket No. 171]

and on September 8, 2023, Lavvan filed its supplemental objection [Docket No. 211] to the entry

of a final order granting the DIP Motion (together, the “Lavvan Objections”). The Lavvan

Objections are the only remaining objections to the approval of the DIP Motion.




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                  8.         Lavvan did not assert, in either of the Lavvan Objections, that the relief

sought in the DIP Motion could not be approved absent the provision of adequate protection to

Lavvan pursuant to Section 364(d)(1). In light of the prohibition on seeking adequate protection

contained in the Subordination Agreement, this omission is not surprising. But subsequently, at

the September 14 final hearing, Lavvan’s counsel argued, for the first time, that Lavvan must

receive adequate protection pursuant to Section 364(d)(1) as a condition to approval of the DIP

Motion.

                  9.         On September 19, 2023, the Court entered the Second Interim Order

(I) Authorizing the Debtors (A) to Obtain Postpetition Financing and (B) to Utilize Cash

Collateral, (II) Granting Adequate Protection to Prepetition Secured Parties, (III) Modifying the

Automatic Stay, (IV) Scheduling a Final Hearing, and (V) Granting Related Relief (“Second

Interim Order”) [Docket No. 322].

                  10.        On September 19, 2023, the Court entered the Scheduling Order pursuant

to which the Final Hearing on the DIP Motion was continued to October 4, 2023, in order to permit

discovery and additional briefing on the specific issues identified in the Scheduling Order.

B.       Amyris’s Collaboration with Lavvan

         i.       The Research, Collaboration and License Agreement.

                  11.        In March 2019, Amyris and Lavvan entered into the RCLA. Lavvan was a

newly formed entity created for the purpose of serving as Amyris’s partner under the RCLA. The

RCLA established a collaboration under which the parties would jointly develop up to 20

biosynthetically produced cannabinoids.            Cannabinoids are naturally occurring molecular



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compounds found in the cannabis sativa plant. Amyris planned to contribute its proprietary R&D

expertise to bio-engineer yeast strains to emit synthetic cannabinoids as a by-product of natural

fermentation. Lavvan promised to provide the funding for the R&D effort upon satisfaction of a

series of milestones. Once the synthetic cannabinoids were commercially viable, Lavvan was

responsible for their manufacture, marketing and sale. Amyris would then be entitled to profit-

sharing payments from Lavvan.

                  12.        Ultimately, Lavvan paid only the first $10 million of the milestones due to

Amyris for the R&D work contemplated by the RCLA. In May 2020, Lavvan terminated the

RCLA. Although Amyris disputed that it had breached the RCLA, in August 2020, Lavvan

commenced the arbitration proceeding with the ICC. The Debtors have stipulated to relief from

the stay to allow the tribunal to issue its ruling.

         ii.      The Security Agreement.

                  13.        Under the RCLA, Amyris agreed to grant a security interest to Lavvan

(defined in the Security Agreement as the “Lavvan Lien”) to secure its contingent obligations to

Lavvan under the RCLA.8              The assets covered by the security interest are limited to the

“background” intellectual property owned by Amyris as of March 2019 before the RCLA became




8
  See § 5.12.2(a) of the RCLA (“Amyris shall grant to Lavvan a lien and security interest on all Amyris Platform
Improvement IP and Amyris Background IP to secure all obligations of Amyris to Lavvan hereunder (the “Lavvan
Lien”). The Lavvan Lien shall be junior in priority to the existing liens and security interests of Great American and
any other Permitted Senior Lender and shall be subject to a subordination agreement with Great American and any
other Permitted Senior Lender (a “Subordination Agreement”).”).



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effective, and a narrow subset of “foreground” intellectual property developed by Amyris pursuant

to the activities contemplated by the RCLA after it became effective in March 2019.9

                  14.        The RCLA provided that Lavvan’s security interest would be subordinated

in favor of GACP Finance Co., LLC (“GACP”) and any Permitted Senior Lender. A Permitted

Senior Lender was defined to include both GACP (the existing lender as of the March 2019 date

of the RCLA), and “any other lender who has advanced debt for borrowed money to Amyris on a

senior secured basis.”10 This provision ensured that Amyris would retain the ability to obtain

funding for operational needs despite the lien granted to Lavvan as security for a potential claim

arising under the RCLA. The use of the present perfect tense (“has advanced”)11 confirms that the

RCLA included both the then existing loan to GACP and other advances of debt continuing into

the present.

                  15.        The RCLA obligated Lavvan to periodically affirm the junior status of its

lien by entering into a subordination agreement with any Permitted Senior Lender.12 Here too, the


9
 These two categories of collateral are defined as the Amyris Background IP and the Amyris Platform Improvement
IP under the RCLA. Another subset of “foreground” intellectual property (defined in the RCLA as the Amyris
Cannabinoid Foreground IP) that was expected to be generated under the collaboration activities contemplated by the
RCLA was contributed to a special purpose entity (DIPA Co., LLC) and then licensed to each of Amyris and Lavvan
consistent with the RCLA. That special purpose entity, which is 99.99% owned by Amyris, is not a debtor in these
Chapter 11 Cases.
10
  See § 5.12.2(b) of the RCLA (“‘Permitted Senior Lender’ shall mean Great American and any other lender who has
advanced debt for borrowed money to Amyris on a senior secured basis (or any other lender who refinances any such
debt), provided that no licensee or similar counterparty to Amyris in respect of the Amyris Platform Improvement IP
or Amyris Background IP shall be a Permitted Senior Lender.”).
11
  Merriam-Webster defines the present perfect verb tense as “a verb tense that is used to refer to an action that began
in the past and is completed at the time of speaking.” (emphasis added). See “The present perfect.” Merriam-
Webster.com Dictionary, Merriam-Webster, https://www.merriam-webster.com/dictionary/the present perfect.
12
  See § 5.12.2(c) of the RCLA (“Each Subordination Agreement shall be in the applicable Permitted Senior Lender’s
standard form with such changes as necessary to comply with Section 5.12.2(a) and shall provide, among other things,
that the Lavvan Lien is junior and subordinate in all respects to the liens and security interests of the applicable
Permitted Senior Lenders, on terms and conditions customary for subordination agreements of this type . . . .”)
(emphasis added).



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RCLA accommodated the possibility of multiple “applicable Permitted Senior Lenders” as and

when Amyris might obtain additional borrowed money.

                  16.        The Security Agreement executed by Amyris in favor of Lavvan reaffirms

that the Lavvan Lien would be subject to any Permitted Liens.13 The Security Agreement was not

entered into, however, until May 2019 (two months after the RCLA). By then, as described in

Section II(C) below, Foris had already acquired the GACP loan (the purchase was consummated

in April 2019). Hence, the definition of a Permitted Senior Lender was revised under the Security

Agreement to include both “Foris Ventures, LLC, as successor in interest to GACP Finance, LLC,”

and “any other lender who has advanced debt for borrowed money to Amyris on a senior secured

basis.”14

                  17.        Like the RCLA, the Security Agreement anticipated the possibility that the

Lavvan Lien would be “subject to any applicable Subordination Agreement as may be in effect.”15

The defined term “Subordination Agreement” refers to an agreement with any “applicable”




13
  See definition of “Permitted Lien” under Security Agreement (“‘Permitted Lien’ means any lien or security interest
granted by the Grantor to any Permitted Senior Lender to secure any Permitted Debt, so long as such lien or security
interest is subject to a Subordination Agreement.”) (emphasis added); see definition of “Permitted Debt” under
Security Agreement (“‘Permitted Debt’ means any indebtedness in respect of borrowed money owed by the Grantor
to any Permitted Senior Lender.”) (emphasis added).
14
   See definition of “Permitted Senior Lender” under Security Agreement (“‘Permitted Senior Lender’ shall mean
Foris Ventures, LLC, as successor in interest to GACP Finance Co. LLC, and any other lender who has advanced debt
for borrowed money to Amyris on a senior secured basis (or any other lender who refinances any such debt), provided
that no licensee or similar counterparty to Amyris in respect of the Amyris Platform Improvement IP or Amyris
Background IP shall be a Permitted Senior Lender.”).
15
  See § 5.01(d) of Security Agreement (“Notwithstanding anything to the contrary herein, all rights and remedies of
the Secured Party hereunder in and to the Intellectual Property Collateral shall be subject to any applicable
Subordination Agreement as may be in effect.”) (emphasis added); see § 6.01 of Security Agreement
(“Notwithstanding anything to the contrary herein, all rights and remedies of the Secured Party hereunder in and to
the Intellectual Property Collateral shall be subject to any applicable Subordination Agreement as may be in effect.”)
(emphasis added).



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Permitted Senior Lender.16 In combination, this fluid language reinforces the prospect that Amyris

might obtain further advances for borrowed money that would be senior to the Lavvan Lien.

           iii.    The Subordination Agreement.

                   18.       Consistent with the requirements of the RCLA and the Security Agreement,

in May 2019 (two months after the RCLA was executed) Lavvan and Foris entered into the

Subordination Agreement. Lavvan agreed to subordinate its right to payment under the RCLA,

and the ranking of the Lavvan Lien, to the prior payment in full of Foris’s claims under the 2018

LSA.17

                   19.       Critically, Lavvan also agreed that it would not seek any adequate

protection on account of its interest in the property of the Debtors that was covered by the Lavvan

Lien.18 To bolster this waiver, Lavvan further agreed that it would neither “exercise any remedy”

nor “commence, or cause to commence, prosecute or participate in any administrative, legal or

equitable action” with respect to its collateral.19 The prohibition on taking an “Enforcement




16
   See definition of “Subordination Agreement” under Security Agreement (“‘Subordination Agreement’ means a
subordination agreement in the applicable Permitted Senior Lender’s standard form with such changes as necessary
to comply with Section 5.12.2(a) of the RCL Agreement and providing, among other things, that the liens and security
interests granted hereunder are junior and subordinate in all respects to the liens and security interests of the applicable
Permitted Senior Lender . . . .”).
17
     See Subordination Agreement §§ 2, 3.
18
   See Subordination Agreement § 6 (“Junior Lienholder agrees not to seek adequate protection or the payment of
interest, fees or other expenses in respect of the Junior Lienholder Collateral unless or until there has been Payment
in Full of the Senior Debt.”).
19
  See Subordination Agreement § 4 (“Except as otherwise permitted hereunder, so long as any of the Senior Debt has
not been Paid in Full, the Junior Lienholder shall not, without the prior written consent of the Senior Lienholder,
exercise any remedy with respect to any Junior Lienholder Collateral, nor shall the Junior Lienholder commence, or
cause to commence, prosecute or participate in any administrative, legal or equitable action against any Junior
Lienholder Collateral or against Borrower in respect of any Junior Lienholder Collateral . . . .”).



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Action” is so all-encompassing that it carves-out such minor matters as filing a proof of claim or

actions taken to preserve rights or avoid the passage of statutes of limitation.

                   20.       In order to implement the re-allocation of Lavvan’s distributive entitlement

on account of its potential claim under the RCLA, Lavvan also agreed that, if and to the extent it

received any payments or rights in property at odds with the requirements of the Subordination

Agreement, it would turnover such payments or property, exactly in the form received, to Foris.20

Hence, any adequate protection payments or liens that might otherwise flow to Lavvan on account

of any decrease in the value of Lavvan’s interest in the property covered by the Lavvan Lien would

automatically revert to Foris. See § 361 of Bankruptcy Code (adequate protection only to the

extent of a “decrease in the value of such entity’s interest in such property”).

                   21.       None of the foregoing is disputed by Lavvan. Lavvan acknowledges that

it has waived the right to request adequate protection.21 And Lavvan concedes that its payment

and priority rights are junior to, at least, the 2018 LSA.22 The only available basis for objection to

the approval of a priming lien under Section 364(d)(1)(B) of the Bankruptcy Code is a lack of

adequate protection of the interest of the holder of the lien in property of the estate (here, Lavvan),

on which a senior lien is proposed to be granted (here, the DIP Lender). But no adequate protection

is necessary for a secured party that has consented in advance that it is not entitled to any such

20
   See Subordination Agreement § 9 (“Except as otherwise expressly agreed to in this Agreement, if the Junior
Lienholder shall receive any payments, security interests or liens, or other rights in any property of the Grantor in
violation of this Agreement, such payment or property shall be received by the Junior Lienholder in trust for the Senior
Lienholder and shall be delivered promptly to the Senior Lienholder in the form received.”).
21
  See Transcript of September 14, 2023, Hearing at p.104:1-4 (“You know, I would just suggest that there is no case
law cited to support the proposition that was made here that we have waived adequate protection. We have agreed
not to seek it.”).
22
  Foris asserts that other pre-petition obligations owed to it and certain of its affiliates also qualify as Permitted Debt;
the resolution of that question will be subject to further proceedings.



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protection. And no adequate protection is needed for a secured party that has relinquished “any

remedy” and surrendered its right “to prosecute or participate in any administrative, legal or

equitable action.”

C.       The History of the Foris 2018 LSA

                  22.        At the time Lavvan and Amyris commenced their collaboration under the

RCLA, Amyris was already indebted to GACP under a secured loan in the initial principal amount

of $36 million pursuant to a Loan and Security Agreement dated as of June 29, 2018 (the “2018

LSA”). The original 2018 LSA accommodated an increase in the facility (upon request by Amyris

and acceptance by GACP) by an additional $35 million (for a total loan of $71 million), and was

otherwise amendable with the assent of the parties.23

                  23.        The 2018 LSA was amended on four separate occasions by Amyris and

GACP from June 2018 through December 2018. In March 2019, the RCLA was executed. Shortly

thereafter, in April 2019, Foris and GACP entered into a Loan Purchase Agreement dated as of

April 15, 2019, under which Foris purchased from GACP all right, title and interest of GACP

under the 2018 LSA and related documents. At the closing of the acquisition in April 2019, the

starting balance due under the 2018 LSA, as then assigned to Foris, was $36 million. As part of




23
   See 2018 LSA at §2.1 (“Facility Increase. Prior to July 1, 2019, Borrower may, by written notice to Agent, elect to
request the establishment of a new loan commitment by an aggregate amount not in excess of $35,000,000.00 (the
“Incremental Term Loan Commitment”). Lender may elect to accept or decline Borrower’s request for the
Incremental Term Loan Commitment (in whole or in part) in its sole and absolute discretion. Any Incremental Term
Loan Commitment shall become effective and shall be an Advance subject to the conditions, requirements and
limitations set forth in Section 2.2(b) as of date advanced.”). In fact, the Subordination Agreement expressly
contemplates, and Lavvan has agreed, that the Lavvan Lien is junior to all obligations owed under or in respect of the
“Senior Agreement,” which refers to the 2018 LSA, “as the same has been and may be amended from time to time.”
See § 1 of Subordination Agreement


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the transaction, Amyris agreed to repay to Foris $2.5 million of the purchase price paid by Foris

to GACP on account of the loan acquisition.

                  24.        During this time period, Foris also made advances to Amyris pursuant to

four separate unsecured promissory notes. As of August 2019, the aggregate principal outstanding

under the four notes was $32.5 million. On August 14, 2019, Foris and Amyris entered into a fifth

amendment to the 2018 LSA. Pursuant to this amendment, and in connection with certain waivers

and amendments under the 2018 LSA, the loan balance under the 2018 LSA was increased to

$71.041 million to reflect the addition of the advances made under the four notes as well as the

amortization of the $2.541 million due on account of the repayment obligation incurred by Amyris

at the time of the GACP loan acquisition in April 2019 (i.e., $71.041 million is the sum of the

original $36 million plus $32.5 million representing the advances made under the four notes plus

$2.541 million on account of the repayment obligation to Foris). As a consequence of the fifth

amendment, Amyris’s obligations under the four notes and on account of the repayment obligation

were cancelled and satisfied.

                  25.        In October 2019, Foris and Amyris entered into a sixth amendment to the

2018 LSA under which the loan balance increased to $81.041 million on account of an additional

advance for $10 million. Later that month, the parties entered into an Amended and Restated Loan

and Security Agreement, dated as of October 28, 2019. The amendment acknowledged that the

loan balance due under the existing 2018 LSA was $81.041 million. A further borrowing under

the amended and restated 2018 LSA in the amount of $10 million was made on November 27,

2019, increasing the total outstanding principal balance to $91.041 million.



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                  26.        Each of the foregoing adjustments to the principal amount due under 2018

LSA was contemporaneously disclosed by Amyris in its public 8-K, 10-Q and 10-K filings as and

when each change was effectuated. In its Form 10-K for the period ending December 31, 2019,

Amyris disclosed that it owed Foris $91.041 million under the 2018 LSA plus an additional $19

million under a separate unsecured borrowing dated August 28, 2019.

                  27.        In January 2020, Foris and Amyris entered into a Warrant Exercise and

Debt Equitization Agreement dated January 31, 2020 (“Equitization Agreement”). Under this

agreement, the 2018 LSA was partially equitized (i.e., debt was converted to equity) by using

amounts due under that loan (a combination of principal and accrued interest and fees) to satisfy

(i) the exercise price of certain warrants (total price of approximately $54.8 million) and (ii) the

purchase price of certain new shares of common stock and rights (total price of approximately

$15.1 million). As a result of this transaction, approximately $50 million due under the 2018 LSA

was cancelled (the equitization was also effectuated through the cancellation in full of the amounts

due under the separate $19 million unsecured loan dated August 2019), leaving a principal balance

due under the 2018 LSA of $50.041 million.

                  28.        A copy of the Equitization Agreement is attached to this Brief at Exhibit

A. Exhibit B to the Equitization Agreement contains a detailed breakdown of the precise amounts

of Foris debt that were converted to equity, as set forth below:




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                  29.        In its Form 8-K filed on February 2, 2020, describing the equitization,

Amyris disclosed that Foris had paid to exercise the warrants and to purchase the new shares/rights

by the application of approximately $50 million due under the 2018 LSA and the application of

approximately $19 million due under the August 2019 loan—for a total purchase price (and

corresponding cancellation of debt) of approximately $69.9 million.24




24
   As set forth in Exhibit B to the Equitization Agreement, the exact amount of the principal, interest and fees due
under the 2018 LSA that was applied to the exercise price of the warrants and the purchase price of the new common
stock was $49,943,849.46. The exact amount of the principal, interest and fees due under the August 2019 loan that
was applied to the exercise price of the warrants and the purchase price of the new common stock was $19,974,465.75.
The total amount, thus, of Foris debt that was converted to equity was $69,918,315.21.



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                    30.      Ever since the consummation of the equitization transaction in early 2020,

Amyris has consistently recognized and disclosed (in various subsequent amendments, waivers

and consents issued under the 2018 LSA and in parallel SEC filings) that the outstanding principal

balance under the 2018 LSA was $50.041 million, as set forth below:




                    31.      Solely for accounting purposes, the debt for equity transaction was treated

as an extinguishment and reissuance of the remaining balance of the 2018 LSA. In its Form 10-K

filing for the year ended December 31, 2020,25 Amyris disclosed that it had analyzed the changes

made to the 2018 LSA due to the equitization transaction (i.e., the decrease in outstanding

principal, among other changes), to determine whether they resulted in a “modification or

extinguishment” of the 2018 LSA. As stated in the 10-K: “Based on the before and after cash


25
     This Form 10-K was the Exhibit 7 identified by counsel for Lavvan at the September 14, 2023, hearing.



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flows, the change was significantly different. Consequently, the accelerated paydown of the Foris

LSA loan balance through the exercise price of the remaining outstanding warrants and the

purchase price of the private placement common stock was accounted for as a debt extinguishment

and a new debt issuance”26 (emphasis added). Lavvan claims, incorrectly, that the accounting

treatment supports the inference that the 2018 LSA has been cancelled as a legal matter.

                                            III. OPENING BRIEF

     A.      The Foris Debt Under the 2018 LSA Remains Outstanding.

                   32.       The obligations due to Foris under the 2018 LSA remain outstanding under

Amyris’s books and records and fully subject to the rights, benefits and obligations under the

Subordination Agreement. The debt originated with the acquisition by Foris of the GACP loan in

April 2019. Since then, the principal amount under the loan has periodically increased by

additional amounts of “advanced debt for borrowed money.”27 Each of the additional amounts

loaned is directly linked to the facility created by the 2018 LSA.28 At the time of the debt for

equity swap in January 2020, the principal balance due under the 2018 LSA was $91.041 million.

As a result of the equitization transaction, principal obligations of $41 million were cancelled in

partial satisfaction of the exercise price for warrants and the purchase price for new common

stock—leaving a balance due of $50.041 million. The principal balance of the 2018 LSA has


26
     See Form 10-K Annual Report for fiscal year ended December 31, 2020 at p.84.
27
  See § 5.12.2(a), (b) of the RCLA (Lavvan agreed to the junior priority of its liens and claims compared to the liens
of GACP and “any other lender who has advanced debt for borrowed money to Amyris on a senior secured basis (or
any other lender who refinances any such debt) . . . .”).
28
   As noted above, the 2018 LSA originally (at inception in June 2018) permitted a potential loan increase of an
additional $36 million. When the 2018 LSA was amended and restated in October 2019, it also permitted a potential
increase in the maximum loan amount upon the request of Amyris and with the acceptance of Foris. All amounts
borrowed by Amyris, thus, are connected to the root form of the underlying 2018 LSA.



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never fallen below the amount of the debt that was originally assigned by GACP to Foris, as

illustrated below:




                    33.      The Martens Report affirms that the “outstanding balance of loan principal

owed by Amyris to Foris under the Foris LSA (as defined herein) derives directly from the 2018

Original LSA Agreement (as defined herein), as adjusted in several amendments . . . and does not

consist of any extinguished or newly issued debt.”29 Mr. Martens tracked the continuity of the

2018 LSA from the inception of the lending relationship between GACP, Foris and Amyris and

further correlated the loan history against the underlying loan documents and the contemporaneous

SEC disclosures. According to Mr. Martens, at all times following the January 2020 equitization




29
     See Martens Report at p.1.



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transaction, the “contractual outstanding principal” due from Amyris to Foris was $50.041 million

and did not change.

                   34.       Importantly, Lavvan’s obligations under the Subordination Agreement

continue until “Payment in Full” of the “Senior Debt.” “Payment in Full” is defined to mean

payment “in full in cash,” and “Senior Debt” is defined to mean “any and all Obligations owing to

the Senior Lienholder under or in respect of the Senior Agreement.” The “Senior Agreement” is

the 2018 LSA, “as the same has been and may be amended from time to time.” 30 As set forth

above, Amyris has, at all relevant times, continued to owe obligations to Foris under the 2018

LSA, including following the debt for equity swap in January 2020. The equitization transaction

had no effect on Lavvan’s ongoing contractual obligations under the Subordination Agreement—

Foris has not yet been paid in full in cash. With interest and fees, the outstanding amount due to

Foris as of the Petition Date under the 2018 LSA is now approximately $63.5 million.

B.         The Foris Debt Under the 2018 LSA Has Not Been Cancelled.

                   35.       As noted, the debt for equity transaction under the Equitization Agreement

contemplated the “retirement of certain amounts of debt through equity instruments.” See Martens

Report p.1. As a result of these changes to the 2018 LSA, Amyris was required under applicable

accounting standards to evaluate the proper presentation of the remaining outstanding debt as a

liability on its balance sheet. According to Mr. Martens, the company had two options to assess

the impact of a transaction that modifies debt—“debt extinguishment accounting” or “debt

modification accounting.” The former standard would apply if the changes to the terms of the debt


30
     See Subordination Agreement § 1.



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were substantial. Otherwise, debt modification accounting would apply and there would be no

gain or loss recognized as a result of the modification. Id. at p.2.

                    36.      Here, due to the substantial nature of the changes effectuated by the debt for

equity swap, debt extinguishment accounting was applied by Amyris. Mr. Martens assessed that

this treatment was consistent with issued accounting standards and GAAP. As a consequence,

gain or loss was required to be recognized on the difference between the price of the “deemed

reissued” debt and the value of the original debt (in this case, as stated in the Form 10-K, Amyris

recorded a $10.4 million loss).              Such accounting treatment, however, does not entail

“derecognizing a debt instrument” (a legal consequence) as opposed to “derecognizing a debt” (an

accounting principle). Id. at p.2.

                    37.      Mr. Martens concluded that:

                    Importantly, the application of debt extinguishment accounting to
                    an Amendment does not mean that the entirety of the Foris LSA debt
                    was extinguished in the Amendment and replaced by new loans.
                    That can only occur to the extent provided for in the transactional
                    documents. It means only that the net effect of the extinguishment
                    provided for in the Amendment was deemed substantial in relation
                    to the loan as a whole. Application of debt extinguishment
                    accounting cannot change contractual liabilities.31

                    38.      Consequently, none of the various amendments and restatements of the

2018 LSA provided for the “complete extinguishment of old Foris LSA debt and replacement with

new loans.” Id. The obligations due to Foris under the 2018 LSA, totaling $63.5 million as of the

Petition Date, thus, remain valid, outstanding and enforceable.




31
     See Martens Report at p.2.



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C.         As a Result of Lavvan’s Agreement Not to Seek Adequate Protection,
           the Court Need Not Independently Find that the Lavvan Lien Is Adequately
           Protected Under Section 364(d) in Order to Approve the DIP Motion

           i.      Lavvan Has Unequivocally Waived Adequate Protection.

                   39.       The Court is not required to find that Lavvan’s asserted interest in its

collateral is adequately protected under Section 364(d)(1) in order to approve the DIP Motion

because Lavvan waived its right to seek (or receive) adequate protection in the Subordination

Agreement and, therefore, has consented to the relief sought in the DIP Motion being granted

without adequate protection.

                   40.       Section 6 of the Subordination Agreement states plainly:             “Junior

Lienholder agrees not to seek adequate protection or the payment of interest, fees or other expenses

in respect of the Junior Lienholder Collateral unless or until there has been Payment in Full of the

Senior Debt.”32 Lavvan is the “Junior Lienholder” under the Subordination Agreement and, as set

forth above, there has been no “Payment in Full of the Senior Debt.” Hence, Lavvan is precluded

from seeking adequate protection under the Subordination Agreement.

                   41.       Initially, Lavvan honored this prohibition when it did not raise the issue of

adequate protection in either of the Lavvan Objections. But, at the hearing held on September 14,

Lavvan’s counsel argued for the first time that Lavvan was not impeded from accepting an award

of adequate protection if it was otherwise statutorily required. Lavvan’s counsel theorized that,

although Lavvan agreed in the Subordination Agreement “not to seek adequate protection,” it was

not prohibited from receiving adequate protection. In particular, Lavvan’s counsel stated:



32
     See § 6 of Subordination Agreement.



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                    [T]he provision that was read to you by counsel multiple times
                    doesn’t say we waive adequate protection. It says, we will not seek
                    adequate protection. If it said different words, it’s, I suppose,
                    possible you might get to a different point because maybe you would
                    conclude, well, even if the Court grants it, I’m not allowed to accept
                    it. That’s not what the words of our contract say. It says, we will
                    not seek it.33

                    42.      That argument is too cute by half. There can be little doubt that, by pursuing

the argument itself, Lavvan is, in fact, seeking adequate protection, despite its admission that the

Subordination Agreement “says, we will not seek it.” Merriam-Webster defines the word “seek”

to include (i) “to ask for,” (ii) “to try to acquire or gain,” and (iii) “to make an attempt.”34 By

claiming that the Court cannot grant the DIP Motion without the provision of adequate protection,

Lavvan is certainly asking for, and trying or attempting to acquire or gain, adequate protection.

                    43.      Lavvan cannot elide the express prohibition in the Subordination

Agreement through semantic contortions; there is simply no difference between “seeking” and

“accepting” when the object of those verbs is identical—an award of adequate protection. Lavvan

is prohibited from trying to obtain any adequate protection in the first place. Indeed, the

Subordination Agreement clarifies that both direct and indirect actions inconsistent with the terms

of the Subordination Agreement are equally prohibited.35




33
     See Transcript of September 14, 2023, Hearing at p.77:15-22
34
 See “Seek.” Merriam-Webster.com Dictionary, Merriam-Webster, https://www.merriam-
webster.com/dictionary/seek.
35
  Section 13 of the Subordination Agreement provides: “The Junior Lienholder agrees to not directly or indirectly
take or support, or induce or instigate others to take or support, any action inconsistent with this Agreement.”
(emphasis added). Lavvan’s claim that the DIP Motion must be denied unless Lavvan is provided adequate protection
under Section 364(d)(1) is inconsistent with Section 6 of the Subordination Agreement which precludes Lavvan from
seeking adequate protection. Just as Section 6 of the Subordination Agreement precludes Lavvan from demanding
adequate protection, Section 13 precludes Lavvan’s attempt to obtain that relief “indirectly” by contending that the
DIP Motion must be denied unless it receives adequate protection.



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                  44.        As further confirmation that there is no substantive difference between

relinquishing “the right to seek” and surrendering “the right to accept,” the Subordination

Agreement requires Lavvan to hold in trust and turn over to Foris any consideration received by

Lavvan as adequate protection. Section 9 of the Subordination Agreement provides that, “if the

Junior Lienholder shall receive any payments, security interests or liens, or other rights in any

property of the Grantor in violation of this Agreement, such payment or property shall be received

by the Junior Lienholder in trust for the Senior Lienholder and shall be delivered promptly to the

Senior Lienholder in the form received.”

                  45.        The final nail in the semantic coffin stems from Lavvan’s agreement to

neither “exercise any remedy” nor commence or participate in any “legal or equitable action” with

respect to the treatment of its collateral. Section 4 of the Subordination Agreement provides, in

relevant part:

                  Except as otherwise permitted hereunder, so long as any of the
                  Senior Debt has not been Paid in Full, the Junior Lienholder shall
                  not, without the prior written consent of the Senior Lienholder,
                  exercise any remedy with respect to any Junior Lienholder
                  Collateral, nor shall the Junior Lienholder commence, or cause to
                  commence, prosecute or participate in any administrative, legal or
                  equitable action against any Junior Lienholder Collateral or
                  against Borrower in respect of any Junior Lienholder
                  Collateral . . . .

                  46.        This provision contains two independent prohibitions on Lavvan’s attempt

to invoke Section 364(d)(1) as a hurdle to the relief sought in the DIP Motion. First, Lavvan’s

very argument that the Court must provide, and that Lavvan can passively accept, adequate

protection for its interest in its collateral under Section 364(d)(1) is the exercise of a remedy that

is barred by the Subordination Agreement. Lavvan contends that, because it is a creditor secured


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by the Junior Lienholder Collateral, it must be provided adequate protection for that interest before

its lien may be primed. By invoking its alleged rights under Section 364(d)(1), Lavvan is seeking

to exercise a remedy that is available exclusively to secured creditors under the Bankruptcy Code

and which would be available to Lavvan only based on its asserted interest in its collateral.

                  47.        Second, Lavvan’s Objection to the DIP Motion in adequate protection

grounds is a proceeding both “against” and “in respect of” the Junior Lienholder Collateral,

because Lavvan is seeking to enforce rights arising from, and to obtain adequate protection for, its

asserted interest in the collateral. Lavvan is opposing the Debtors’ DIP Motion by seeking to

enforce its rights as a secured creditor under Section 364(d)(1). Section 4 of the Subordination

Agreement precludes Lavvan from commencing, causing to commence, prosecuting, or

participating in such proceedings. In the overall context of the Subordination Agreement, the

specific waiver of the right to seek adequate protection coupled with the general waiver of the

exercise of any remedy, confirms that there is no linguistic daylight between actively seeking

adequate protection and passively accepting it after raising the issue with the Court.

         ii.      Lavvan’s Waiver Is Tantamount to Consent.

                  48.        In sum, Lavvan waived the right to seek adequate protection, directly or

indirectly, and is barred by contract from opposing the relief sought in the DIP Motion on the

theory that it is entitled to passively accept adequate protection. Since Lavvan is precluded from

arguing that its asserted lien cannot be primed absent the provision of adequate protection, it has

no basis for opposing the relief sought in the DIP Motion and must be deemed to have consented

to the relief sought in the Motion. See, e.g., Aurelius Capital Master, Ltd. v. Tousa Inc., No. 08-



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61317-CIV-GOLD, 2009 U.S. Dist. LEXIS 12735, at *29-30 (S.D. Fla. Feb. 5, 2009) (“Wells

Fargo has no standing to pursue its appeal because despite its limited objection, it was deemed to

have consented to the Cash Collateral Order by the Bankruptcy Court and therefore cannot be

considered an aggrieved party. Pursuant to Article 5.2 of the Intercreditor Agreement, Wells Fargo

is barred from ‘request[ing] any form of adequate protection or any other relief in connection with

the use of the cash.’ Put differently, Wells Fargo had bargained away its right to object by entering

into the Intercreditor Agreement.”); see also In re Bear Island Paper Co., L.L.C., No. 10-31202

(DOT), 2011 Bankr. LEXIS 1884, at *20-21 (Bankr. E.D. Va. Mar. 30, 2011) (approving priming

liens under Section 364(d) in financing order and noting that junior creditors had agreed in an

intercreditor agreement to be primed and to “not request adequate protection or any other relief in

connection with the Debtor’s entry into the Postpetition Facility”).

                  49.        As a result of Lavvan’s waiver, the Court need not independently ensure

that Lavvan’s interests are adequately protected under Section 364(d)(1). The court in RCD Invs.

No. 4, Ltd. v. Foothill Capital Corp. (In re GDH Int’l, Inc.), rejected an argument almost identical

to the one being made by Lavvan when it stated:

                  RCD4 also contends that its I.P. Lien cannot be primed because its
                  “interests in the I.P. Lien could [not] be adequately protected against
                  priming by Foothill. Indeed, the Debtors never even tried to offer
                  any adequate protection.” RCD4 further contends that its
                  agreement in Section 11 of the Inter-Creditor Agreement “not
                  to assert any right it may have to ‘adequate protection’ of its
                  interests” is not at issue here because Section 364(d) of the
                  Bankruptcy Code mandates a finding of adequate protection
                  before a priming lien can be granted—it did not have to assert
                  a right to adequate protection. The Court disagrees. Before a
                  priming lien can be granted, Section 364(d)(1) requires that the
                  trustee (or debtor-in-possession) be unable to obtain such credit
                  otherwise and that the interest being primed be adequately protected.


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                  Here, the Court found in the Financing Orders that credit was not
                  available on lesser terms. However, no adequate protection
                  finding is required in light of RCD4’s waiver of its right to
                  adequate protection and its further waiver of any claim or defense
                  to Foothill’s postpetition loans to the Debtors.36

                  50.        This outcome is consistent with accepted practice in this jurisdiction.

Courts in this district often accept the consent of junior secured creditors to a priming lien pursuant

to the terms of an intercreditor agreement without independently assessing whether the creditors’

interests in fact have been adequately protected. See, e.g., In re Am. Safety Razor Co., LLC, No.

10-12351 (MFW), 2010 Bankr. LEXIS 5994, at *18 (Bankr. D. Del. July 30, 2010) (financing

order providing that, “under the Intercreditor Agreement, the Second Lien Agent and the Second

Lien Lenders are deemed to consent to the financing under the DIP Facility and, upon approval of

the DIP Facility, the DIP Facility Liens shall have first priority in the Collateral, the Prepetition

First Liens shall have second priority in the Collateral, and the Prepetition Second Liens shall have

third priority in the Collateral.”); see also In re Nuverra Envtl. Sols., Inc., No. 17-10949 (KJC),

2017 Bankr. LEXIS 4547, at *49 (Bankr. D. Del. June 6, 2017) (financing order approving senior,

priming liens pursuant to section 364(d)(1) and stating “the Existing Pari Passu Secured Parties

have consented to, and, pursuant to the Second Lien Intercreditor Agreement, the Second Lien

Parties are deemed to have consented to, the terms set forth in this Final Order”).




36
  See Nos. 00-45647-BJH-11, 00-4185, 2001 Bankr. LEXIS 2230, at *12-13 n.4 (Bankr. N.D. Tex. Apr. 2, 2001)
(emphasis added); cf. Anchor Sav. Bank FSB v. Sky Valley, Inc., 99 B.R. 117, 122 (N.D. Ga. 1989) (where junior
creditors withdrew their objections to a request for a priming lien, the court held that, “by tacitly consenting to the
superpriority lien, those [junior] creditors relieved the debtor of having to demonstrate that they were adequately
protected.”)



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         iii.     Consent Routinely Suffices To Meet Section 364(d)(1).

                  51.        Taken to its logical conclusion, Lavvan’s argument that Section 364(d)(1)

requires the Court to independently canvas the record for adequate protection each time a priming

lien is sought under a DIP financing motion would undermine accepted practice in this jurisdiction

(and elsewhere). Although cases involving a junior creditor’s consent to such relief appear rarely

to result in reported decisions, Debtor’s counsel has been unable to locate any reported decision in

which a court in this district held that it has an independent obligation to find that a junior secured

creditor’s interests were adequately protected where the creditor was deemed to have waived the

right to such relief by contract.

                  52.        Indeed, it is not uncommon for an existing pre-petition lender to offer

superior terms for post-petition financing (for a variety of reasons, including its familiarity with

the debtor). Typically, the pre-petition lender consensually agrees to being primed by the claims

and liens granted in its capacity as DIP lender.37 The Court does not, in these circumstances,

undertake an impartial review to determine whether the consensual adequate protection is

otherwise sufficient under Section 364(d)(1). Here too, the Court has treated the adequate

protection to which the Foris Prepetition Secured Lenders have consented under the Interim Order

and the Second Interim Order as sufficient without a separate investigation and determination that

the adequate protection consensually granted meets the standard of Section 364(d)(1). Under the

37
   See, e.g., In re AmeriMark Interactive, LLC, Case No. 23-10438 (TMH) (Bankr. D. Del. May 9, 2023, D.I. 190); In
re CBC Restaurant Corp., Case No. 23-10245 (KBOP) (Bankr. D. Del. May 5, 2023, D.I. 427); In re GigaMonster
Networks, LLC, Case No. 23-10051 (JKS) (Bankr. D. Del. Feb. 21, 2023, D.I. 180); In re Medly Health, Inc., Case
No. 22-11257 (KBO) (Bankr. D. Del. Jan. 18, 2023, D.I. 309); In re Agspring Mississippi Region, LLC, Case No. 21-
11238 (CTG) (Bankr. D. Del. Nov. 4, 2021, D.I. 174); The Weinstein Company Holdings LLC, Case No. 18-10601
(MFW) (Bankr. D. Del. Apr. 19, 2018, D.I. 267); In re Unilife Corp., Case No. 17-10805 (JTD) (Bankr. D. Del. May
4, 2017, D.I. 118).



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Subordination Agreement, Lavvan has surrendered any claim to adequate protection thereby

obviating any requirement for the Court to independently assess whether any adequate protection

is necessary.

                                        IV. CONCLUSION

                  For the reasons set forth in this Brief, the Lavvan Objections to the DIP Motion

should be overruled and the Court should enter the proposed Final Order.


 Dated: September 29, 2023                        PACHULSKI STANG ZIEHL & JONES LLP

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